                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:10-00258
                                                    )      JUDGE CAMPBELL
JOSE DANIEL VILLAGOMEZ-DIAZ                         )

                                            ORDER

       The sentencing hearing in this case, currently set for December 10, 2012, is

CONTINUED until February 11, 2013, at 3:00 p.m. for the reasons stated in Docket No. 453.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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